         Case 22-33553 Document 456 Filed in TXSB on 10/03/23 Page 1 of 3




                IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION


In re:                                        Bankruptcy
                                              Case No. 22-60043 (CML)
FREE SPEECH SYSTEMS LLC,
                                              Chapter 11
                   Debtor                     (Subchapter V)


In re:                                        Bankruptcy
                                              Case No. 22-33553 (CML)
ALEXANDER E. JONES,
                                              Chapter 11
                   Debtor


David Wheeler, Francine Wheeler,
Jacqueline Barden, Mark Barden, Nicole
Hockley, Ian Hockley, Jennifer Hensel,
Donna Soto, Carlee Soto Parisi, Carlos M.
Soto, Jillian Soto Marino, William
Aldenberg, William Sherlach, Robert           Adv. Pro. No. 23-03036 (CML)
Parker, and Richard M. Coan, as chapter 7     Adv. Pro. No. 23-03037 (CML)
trustee for the Estate of Erica Lafferty,

                   Plaintiffs

         v.

Alexander E. Jones and
Free Speech Systems LLC,

                   Defendants


                    MOTION TO WITHDRAW AS COUNSEL
                      FOR CONNECTICUT PLAINTIFFS




MOTION TO WITHDRAW AS COUNSEL—PAGE 1
         Case 22-33553 Document 456 Filed in TXSB on 10/03/23 Page 2 of 3




         This motion seeks an order that may adversely affect you. If you
         oppose the motion, you should immediately contact the moving
         party to resolve the dispute. If you and the moving party cannot
         agree, you must file a response and send a copy to the moving
         party. You must file and serve your response within 21 days of
         the date this was served on you. Your response must state why
         the motion should not be granted. If you do not file a timely
         response, the relief may be granted without further notice to you.
         If you oppose the motion and have not reached an agreement,
         you must attend the hearing. Unless the parties agree otherwise,
         the court may consider evidence at the hearing and may decide
         the motion at the hearing.

         Represented parties should act through their attorney.

TO THE HONORABLE CHRISTOPHER LOPEZ, U.S. BANKRUPTCY JUDGE:

         Daniel Sinnreich (Movant) files this Motion to Withdraw as Counsel for

Connecticut Plaintiffs and respectfully asks the Court to allow him to withdraw as

attorney of record for Mark Barden, Jacqueline Barden, Francine Wheeler,

David Wheeler, Ian Hockley, Nicole Hockley, Jennifer Hensel, William Aldenberg,

William Sherlach, Carlos M. Soto, Donna Soto, Jillian Soto-Marino, Carlee Soto Parisi,

and Robert Parker (collectively, the Connecticut Plaintiffs) in the above-referenced

cases.

         An attorney may withdraw from representation upon leave of the court and a

showing of good cause and reasonable notice to the client. The law firm of Paul, Weiss,

Rifkind, Wharton & Garrison LLP, and its attorneys of record, other than Daniel

Sinnreich, continue to represent the Connecticut Plaintiffs. Thus, withdrawal of counsel

will not unduly delay or disrupt this case, nor will withdrawal cause prejudice to the

Connecticut Plaintiffs.

         For these reasons, Movant respectfully asks the Court to grant this Motion to

Withdraw as Counsel for the Connecticut Plaintiffs for all purposes and grant Movant




MOTION TO WITHDRAW AS COUNSEL—PAGE 2
       Case 22-33553 Document 456 Filed in TXSB on 10/03/23 Page 3 of 3




such other and further relief as reasonably necessary to effect the withdrawal.

       Respectfully submitted this 3rd day of October 2023.


                                                  /s/ Ryan E. Chapple
                                          Ryan E. Chapple
                                          State Bar No. 24036354
                                          rchapple@cstrial.com
                                          CAIN & SKARNULIS PLLC
                                          303 Colorado Street, Suite 2850
                                          Austin, Texas 78701
                                          512-477-5000
                                          512-477-5011 (fax)

                                          -and-

                                          Kyle J. Kimpler (admitted pro hac vice)
                                          Christopher Hopkins (admitted pro hac vice)
                                          PAUL, WEISS, RIFKIND, WHARTON &
                                          GARRISON LLP
                                          1285 Avenue of the Americas
                                          New York, NY 10019-6064
                                          (212) 373-3000
                                          (212) 757-3990 (fax)
                                          kkimpler@paulweiss.com
                                          chopkins@paulweiss.com

                                          ATTORNEYS FOR
                                          CONNECTICUT PLAINTIFFS


                             CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing Motion to Withdraw
as Counsel was served via the Court’s CM/ECF on all parties entitled to such notice on this
3rd day of October 2023.


                                                  /s/ Ryan E. Chapple
                                          Ryan E. Chapple




MOTION TO WITHDRAW AS COUNSEL—PAGE 3
